                Case 3:04-cr-05350-RBL           Document 571         Filed 10/02/07       Page 1 of 1



 1                                                                     HONORABLE RONALD B. LEIGHTON
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 6                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 7                                               AT TACOMA
 8     UNITED STATES OF AMERICA,
 9                                                            Case No. CR04-5350 RBL
                                 Plaintiff,
10                       v.                                   ORDER
11     ETHEN MEANS,
12                                Defendant.
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14
15             THIS MATTER comes on before the above-entitled Court upon Defendant’s Motion for

16   Reconsideration [Dkt. #570]. Defendant seeks reconsideration of this Court’s Order [Dkt. #569] denying

17   defendant’s request to amend his presentence report. The Court was fully aware that Mr. Means wished to

18   have his Presentence Report amended to remove references to firearms in order that he may receive the benefit

19   of a year off of his sentence as a result of his participation in the 500 hour drug class at FCI Terminal Island.

20   The Court declined to amend his Presentence Report initially, and declines to do so on reconsideration.

21   Defendant’s Motion for Reconsideration [Dkt. #570] is DENIED.

22             IT IS SO ORDERED.

23             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing

24   pro se.

25             Dated this 2nd day of October, 2007.


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                                               RONALD B. LEIGHTON
28                                             UNITED STATES DISTRICT JUDGE


     ORDER
     Page - 1
